USCA11 Case: 21-11016   Document: 26     Date Filed: 02/04/2022   Page: 1 of 61




                            Case No. 21-11016

                   In the United States Court of Appeals
                          for the Eleventh Circuit


                              Mary E. Harris,
                                Appellant

                                    v.

                Public Health Trust of Miami-Dade County,
                                 Appellee



              On appeal from the United States District Court
                   for the Southern District of Florida



                        Appellant’s Opening Brief


                                  Thomas V. Burch
                                  Anna W. Howard
                                  Courtney Hogan, Student Counsel
                                  Kirstiana Perryman, Student Counsel
                                  Appellate Litigation Clinic
                                  University of Georgia School of Law
                                  225 Herty Drive
                                  Athens, Georgia 30602
                                  tvburch@uga.edu
                                  (706) 542-5236
 USCA11 Case: 21-11016       Document: 26     Date Filed: 02/04/2022   Page: 2 of 61



                Certificate of Interested Persons, Mary Harris v.
         Public Health Trust of Miami-Dade County, Case No. 21-11016

      We file this Certificate of Interested Persons and Corporate Disclosure

Statement in accordance with Eleventh Circuit Rule 26.1-1:

   1. Blye, Tanesha (Counsel for Plaintiff)

   2. Burch, Thomas (Counsel for Appellant)

   3. Candela, William (Counsel for Defendant)

   4. Farrell, Michael (District Director, EEOC Miami District Office)

   5. Harris, Mary (Plaintiff-Appellant)

   6. Hogan, Courtney (Student Counsel for Appellant)

   7. Howard, Anna (Counsel for Appellant)

   8. Jackson Health System (Operator of Defendant’s Medical Centers)

   9. Jackson Hospital Ambulatory Clinic (Medical Center Operated by Defendant)

   10. Jackson Memorial Hospital (Hospital Operated by Defendant)

   11. Jackson North Medical Center (Hospital Operated by Defendant)

   12. Jefferson Reeves Ambulatory Clinic (Clinic Operated by Defendant)

   13. Louis, Honorable Lauren Fleischer (Magistrate Judge, United States District

      Court for the Southern District of Florida)

   14. Miami-Dade County Attorney’s Office (Counsel for Defendant)




                                      C-1 of 2
USCA11 Case: 21-11016      Document: 26      Date Filed: 02/04/2022   Page: 3 of 61



 15. Moore, Honorable K. Michael (Chief Judge for the United States District

     Court for the Southern District of Florida)

 16. Perryman, Kirstiana (Student Counsel for Appellant)

 17. Price-Williams, Abigail (Miami-Dade County Attorney)

 18. Rawsi Williams Law Group (Counsel for Plaintiff)

 19. Rodriguez, Eric (Counsel for Appellee)

 20. Saenz & Anderson, PLLC (Counsel for Plaintiff)

 21. Saenz, R. Martin (Counsel for Plaintiff)

 22. Smukler, Aron (Counsel for Plaintiff)

 23. University of Georgia School of Law Appellate Litigation Clinic (Counsel for

    Appellant)

 24. Williams, Rawsi (Counsel for Plaintiff)




                                    C-2 of 2
 USCA11 Case: 21-11016        Document: 26      Date Filed: 02/04/2022   Page: 4 of 61



                        Statement Regarding Oral Argument

      This appeal addresses the district court’s grant of summary judgment to Public

Health Trust on Ms. Harris’s employment discrimination claims. Ms. Harris is a Black

woman who alleges that she faced persistent race discrimination at work, including

her direct supervisor telling her “[B]lacks are lazy, and don’t like to work.” Ms. Harris

reported that comment, but the supervisor was never disciplined, and Ms. Harris

alleges that after she reported, the supervisor began following her around the

workplace, denying her access to the nurses’ supply closet, asking a co-worker if he had

any pictures or information that would support getting her fired, and instructing

another supervisor to discipline her—all of which led to a sharp increase in her

workplace discipline over the following year. We believe Ms. Harris’s evidence is direct,

severe, pervasive, and related enough to make summary judgment inappropriate on

her disparate treatment, hostile work environment, and retaliation claims. Because of

that, we respectfully request oral argument.




                                            i
  USCA11 Case: 21-11016                     Document: 26              Date Filed: 02/04/2022                 Page: 5 of 61



                                                  Table of Contents

Statement Regarding Oral Argument ............................................................................ i

Table of Citations ........................................................................................................ iv

Statement Regarding Jurisdiction .............................................................................. viii

Statement of the Issues ................................................................................................. 1

Statement of the Case ................................................................................................... 2

Standard of Review ....................................................................................................... 8

Summary of the Argument ........................................................................................... 8

Argument .................................................................................................................... 14

I.       Ms. Harris presented direct evidence of discrimination, making
         summary judgment on her disparate treatment claim inappropriate.............. 15

II.      Public Health Trust created a hostile work environment, as shown in
         part by the background evidence that the district court did not
         consider ............................................................................................................ 18

         A. Ms. Harris referenced time-barred events as background evidence
            to support her hostile work environment claim, and the district
            court should have considered those facts ................................................... 20

         B. Under the totality of the circumstances analysis, a reasonable juror
            could find that Ms. Harris endured severe or pervasive harassment
            ..................................................................................................................... 22

              1. Ms. Harris was harassed daily by her direct supervisor, who
                 believed that “Blacks are lazy” ............................................................... 23

              2. A reasonable person could find that a supervisor making a
                 racist statement and conspiring to get an employee fired was
                 severe harassment .................................................................................. 24


                                                                ii
  USCA11 Case: 21-11016                    Document: 26             Date Filed: 02/04/2022                 Page: 6 of 61



              3. Ms. Harris endured both threatening and humiliating
                 harassment ............................................................................................. 26

              4. The harassment unreasonably interfered with Ms. Harris’s job
                 performance and altered the terms and conditions of her
                 employment ........................................................................................... 29

III.     Ms. Harris established a prima facie case for discriminatory
         retaliation, and she showed that Public Health Trust’s
         nondiscriminatory explanations are pretext .................................................... 31

         A. Ms. Harris had an objective belief that she was reporting
            actionable race discrimination, so her complaints were protected
            activities ....................................................................................................... 32

         B. Ms. Harris’s disciplinary actions were causally connected to her
            various complaints about her direct supervisor’s discrimination ............... 36

              1. January 2016, June 2016, and August 2016 DARs............................... 37

              2. Three-Day Suspension ........................................................................... 40

              3. Administrative Leave ............................................................................. 41

              4. Termination ........................................................................................... 42

         C. Ms. Harris’s testimony, the timing and frequency of the
            disciplinary actions, and a co-worker’s testimony all demonstrate
            that Public Health Trust’s nondiscriminatory explanations are
            pretext .......................................................................................................... 43

Conclusion .................................................................................................................. 47

Certificate of Compliance

Certificate of Service




                                                              iii
 USCA11 Case: 21-11016                  Document: 26            Date Filed: 02/04/2022             Page: 7 of 61



                                              Table of Citations

Cases

Allen v. Mich. Dep’t of Corr.,
       165 F.3d 405 (6th Cir. 1999) .....................................................................24–25

Alvarez v. Royal Atl. Devs., Inc.,
       610 F.3d 1253 (11th Cir. 2010) ......................................................................... 8

Anterio v. City of High Springs,
       762 F. App’x 891 (11th Cir. 2019) ............................................................ 37, 40

Brooks v. Cnty. Comm’n,
       446 F.3d 1160 (11th Cir. 2006) ....................................................................... 44

Brown v. Ala. Dep’t of Transp.,
      597 F.3d 1160 (11th Cir. 2010) ....................................................................... 39

*Bryant v. Jones,
      575 F.3d 1281 (11th Cir. 2009) ....................................................................... 30

Burlington Indus., Inc. v. Ellerth,
       524 U.S. 742 (1998) ................................................................................... 27, 29

Burlington N. and Santa Fe Ry. Co. v. White,
       548 U.S. 53 (2006) ........................................................................................... 39

Butler v. Ala. Dep’t of Transp.,
       536 F.3d 1209 (11th Cir. 2008) ....................................................................... 35

Caban-Wheeler v. Elsea,
      904 F.2d 1549 (11th Cir. 1990) ....................................................................... 17

Chapter 7 Trustee v. Gate Gourmet, Inc.,
      683 F.3d 1249 (11th Cir. 2012) ....................................................................... 36



                                                          iv
 USCA11 Case: 21-11016                  Document: 26            Date Filed: 02/04/2022             Page: 8 of 61



Davis v. Legal Servs. Ala., Inc.,
       19 F.4th 1261 (11th Cir. 2021) ......................................................................... 8

Dees v. Johnson Controls World Servs.,
       168 F.3d 417 (11th Cir. 1999) ......................................................................... 24

Farley v. Nationwide Mut. Ins. Co.,
       197 F.3d 1322 (11th Cir. 1999) ................................................................. 36, 43

Freeman v. Perdue Farms Inc.,
      496 F. App’x 920 (11th Cir. 2012) .................................................................. 45

Furcron v. Mail Ctrs. Plus, LLC,
       843 F.3d 1295 (11th Cir. 2016) .................................................................34–35

Garret v. Tyco Fire Prods., LP,
       301 F. Supp. 3d 1099 (N.D. Ala. 2018) ........................................................... 27

Gilliam v. U.S. Dep’t of Veterans Affairs,
       822 F. App’x 985 (11th Cir. 2020) .................................................................. 39

Gogel v. Kia Motors Mfg. of Ga., Inc.,
       967 F.3d 1121 (11th Cir. 2020) ....................................................................... 42

Gupta v. Fla. Bd. of Regents,
      212 F.3d 571 (11th Cir. 2000) ...................................................... 38–39, 41–42

*Hairston v. Gainesville Sun Pub. Co.,
       9 F.3d 913 (11th Cir. 1993) ............................................................................. 45

Harris v. Forklift Sys.,
       510 U.S. 17 (1993) ........................................................................................... 23

Jackson v. Hennessy Auto,
       190 F. App’x 765 (11th Cir. 2006) .................................................................. 44

Jackson v. State of Ala. State Tenure Comm’n,
       405 F.3d 1276 (11th Cir. 2005) ....................................................................... 44

                                                           v
 USCA11 Case: 21-11016                Document: 26          Date Filed: 02/04/2022           Page: 9 of 61



Johnson v. Booker T. Washington Broad. Serv., Inc.,
       234 F.3d 501 (11th Cir. 2000) ......................................................................... 24

Jones v. Bessemer Carraway Med. Ctr.,
        151 F.3d 1321 (11th Cir. 1998) ....................................................................... 47

Jones v. City of Heflin,
        207 F. Supp. 3d 1255 (N.D. Ala. 2016) .....................................................45–46

*Jones v. UPS Ground Freight,
       683 F.3d 1283 (11th Cir. 2012) ....................................................................... 25

Keene v. Prine,
      477 F. App’x 575 (11th Cir. 2012) .................................................................. 46

Lindsey v. Am. Cast Iron Pipe Co.,
       772 F.2d 799 (11th Cir. 1985) ...................................................................17–18

Meeks v. Computer Assocs. Int'l,
      15 F.3d 1013 (11th Cir. 1994) ...................................................................31–32

Mendoza v. Borden, Inc.,
     195 F.3d 1238 (11th Cir. 1999) .................................................... 19, 25, 27–28

Menefee v. Montgomery Cnty. Bd. of Educ.,
      137 F. App’x 232 (11th Cir. 2005) .................................................................. 21

*Merritt v. Dillard Paper Co.,
       120 F.3d 1181 (11th Cir. 1997) ....................................................................... 17

*Miles v. M.N.C. Corp.,
       750 F.2d 867 (11th Cir. 1985) ......................................................................... 17

Miller v. Kenworth of Dothan, Inc.,
       277 F.3d 1269 (11th Cir. 2002) ....................................................................... 31

Moore v. San Carlos Park Fire Prot. & Rescue,
      808 F. App’x 789 (11th Cir. 2020) .................................................................. 21

                                                       vi
 USCA11 Case: 21-11016                 Document: 26            Date Filed: 02/04/2022             Page: 10 of 61



Munoz v. Selig Enters., Inc.,
     981 F.3d 1265 (11th Cir. 2020) ....................................................................... 46

Nat’l R.R. Passenger Corp. v. Morgan,
       536 U.S. 101 (2002) ......................................................................................... 21

Reeves v. C.H. Robinson Worldwide, Inc.,
       525 F.3d 1139 (11th Cir. 2008) ....................................................................... 23

Rodgers v. Western-Southern Life Ins. Co.,
       12 F.3d 668 (7th Cir. 1993) ............................................................................. 25

Ross v. Rhodes Furniture, Inc.,
        146 F.3d 1286 (11th Cir. 1998) ....................................................................... 18

*Smelter v. S. Home Care Servs.,
       904 F.3d 1276 (11th Cir. 2018) .................................................... 22–24, 26–27

William v. United Launch All., LLC,
      286 F. Supp. 3d 1293 (N.D. Ala. 2018) ........................................................... 31

Vick v. Brennan,
       172 F. Supp. 3d 285 (D.D.C. 2016) ................................................................ 26

Statutes and Rules

42 U.S.C. § 2000e-2..............................................................................................34–35




                                                         vii
USCA11 Case: 21-11016       Document: 26        Date Filed: 02/04/2022   Page: 11 of 61



                         Statement Regarding Jurisdiction

      Ms. Harris sued Public Health Trust in the United States District Court for the

Southern District of Florida on December 26, 2019, seeking damages for employment

discrimination under the Florida Civil Rights Act of 1992 and Title VII of the Civil

Rights Act of 1964, as amended. DE #1. The district court had jurisdiction under 42

U.S.C. § 2000e-5, 28 U.S.C. § 1331, 28 U.S.C. § 1343, and 28 U.S.C. § 1367. The

district court granted Public Health Trust’s motion for summary judgment on

February 27, 2021, and Ms. Harris filed a timely notice of appeal with this Court. DE

#49, 51. This Court has jurisdiction over this appeal under 28 U.S.C. § 1291.




                                         viii
USCA11 Case: 21-11016        Document: 26      Date Filed: 02/04/2022   Page: 12 of 61



                               Statement of the Issues

      Ms. Harris is a nurse who sued Public Health Trust under Title VII and the

Florida Civil Rights Act for disparate treatment, retaliation, and a hostile work

environment. Her case presents three questions:

   1. Ms. Harris’s direct supervisor told her that “[B]lacks are lazy, and don’t like to

      work” before Ms. Harris told the supervisor that she is Black. Ms. Harris alleges

      that over the next fourteen months following this exchange, the supervisor

      restricted Mr. Harris’s access to the supply closet, followed her during work

      hours, and initiated each of her disciplinary actions. Is the supervisor’s racist

      statement direct evidence of discrimination?

   2. Ms. Harris alleged that she faced discrimination at both of the Public Health

      Trust facilities where she worked, dating back to 2012. The district court only

      considered evidence concerning events from December 8, 2015, onward in its

      hostile work environment analysis because it determined that all prior evidence

      was time-barred. Was the district court wrong to exclude that evidence, and

      when all of Ms. Harris’s evidence is considered, could a reasonable juror find

      that she endured a hostile work environment?

   3. Ms. Harris alleges that after she complained about race discrimination, Public

      Health Trust retaliated against her with write-ups, suspensions, and, ultimately,


                                           1
USCA11 Case: 21-11016       Document: 26     Date Filed: 02/04/2022   Page: 13 of 61



      termination. Did she submit evidence showing that she did, in fact, complain

      about discrimination, and did she have an objectively reasonable belief that

      Public Health Trust retaliated against her for complaining?

                               Statement of the Case

      Ms. Harris is a Black woman who was a Licensed Practical Nurse 2 (LPN) for

Public Health Trust. DE #43 at 2–3; DE #32-26 at 2. Public Health Trust operates

Jackson North Medical Center and Jefferson Reeves Senior Health Center. DE #31

at 3. Ms. Harris worked at Jackson North from 2006 until she was transferred to

Jefferson Reeves in 2014. DE #43 at 3; DE #32-5 at 2–4. She continued working at

Jefferson Reeves until she was terminated in December 2016. DE #32 at 9.

      During her time at Jackson North, Ms. Harris reported to Susan Zembal. DE

#32 at 3. In November 2013, Ms. Zembal issued a Discipline Action Report (DAR) to

Ms. Harris for allegedly making “inappropriate comments” and giving “inconsiderate

responses to patient family needs.” DE #32 at 3. But at a meeting regarding this DAR,

Ms. Harris told the Human Resources Department, the Chief Operating Officer, and

her union representative that Ms. Zembal racially profiled Black employees and that

her DAR was a result of that profiling. DE #32-5 at 10–13. She then filed a charge

with the Equal Employment Opportunity Commission (EEOC) alleging the same. Id.

at 10–11. In particular, Ms. Harris alleged that Ms. Zembal followed the Black


                                         2
USCA11 Case: 21-11016         Document: 26       Date Filed: 02/04/2022    Page: 14 of 61



employees around the Emergency Department and required Black employees to “sign

in [and] out” whenever they used the restroom. Id. at 11. On February 10, 2014, a

written reprimand was entered on Ms. Harris’s record in connection with this DAR.

Id. at 11, 122. After that reprimand, Ms. Harris spoke again with the Chief Operating

Officer and notified her that Ms. Zembal had been forced to leave a prior job because

“she had attacked” another staff member there. Id. at 12. In response, the Chief

Operating Officer told Ms. Harris to return to work, and nothing came of either

complaint regarding Ms. Zembal. Id.

       Ms. Harris transferred to Jefferson Reeves in March 2014. DE #32 at 3–4.

There, she answered to Roselyn Lys, Gianella Carreno, Rachel Freeman, and Caridad

Nieves. Id. at 4–5. Under their supervision, Ms. Harris alleges that Black nurses were

under more stress, faced more intense demands from superiors, and were disciplined

for being late more often than other nurses. DE #42-5; DE #32-5 at 24. For example,

she alleges that without providing any reason or explanation, superiors micromanaged

her work activities, restricted her access to the supply closet, required her to seek access

from co-workers in lower-level positions, and made her perform burdensome clerical

duties, despite not requiring the same of other non-Black employees. DE #32-26 at 2;

DE #32-5 at 36 (Ms. Harris noting that she had to ask a medical assistant for access to

the supply closet); DE #32-7 (explaining that LPNs oversee medical assistants); DE #19


                                             3
USCA11 Case: 21-11016         Document: 26      Date Filed: 02/04/2022     Page: 15 of 61



at 4 (describing “pretextual discipline” and “physical intimidation in the form of being

followed”); id. (explaining that she was required to undertake additional work because

she is Black). In short, she alleges that supervisors at Jefferson Reeves “restricted [her]

from performing normal duties.” DE #32-26 at 2; see also DE #42-5 (containing a

declaration from Tamara Mells, a Black co-worker at Jefferson Reeves, who agreed

with Ms. Harris’s allegations of race discrimination, declaring that she, too, was

“constantly harassed” and “disciplined for foolishness,” and that Ms. Harris faced

“untrue, absurd, and baseless accusations, and then [was] wrongfully disciplined”).

       More precisely, most of Ms. Harris’s allegations regarding her treatment at

Jefferson Reeves center around Ms. Carreno, who joined Jefferson Reeves as one of

Ms. Harris’s supervisors in March 2015. DE #32 at 5. Ms. Carreno initially believed

that Ms. Harris was of Hispanic descent because Ms. Harris speaks fluent Spanish. DE

#32-5 at 19, 25; DE #43 at 4. About six months after Ms. Carreno joined Jefferson

Reeves, she told Ms. Harris, “[B]lacks are lazy, and don’t like to work.” DE #32-5 at

19–20; DE #43 at 4. She also told Ms. Harris that she would “not hir[e] any” Black

nurses. DE #32-5 at 19. Ms. Harris replied that she herself is Black. Id. at 19, 25; DE

#43 at 4. After that, Ms. Harris claims that Ms. Carreno began to target her

“[c]ontinuously” throughout the remainder of her time at Jefferson Reeves. DE #32-5

at 33, 35–36 (explaining that Ms. Carreno followed Ms. Harris around the hospital


                                            4
USCA11 Case: 21-11016        Document: 26     Date Filed: 02/04/2022   Page: 16 of 61



and restricted her access to the supply room); DE #43 at 4; see also DE #32-5 at 25 (“I

informed her that I was [a] . . . black American[,] and she said, no . . . you’re

Spanish. . . . [S]hortly after that her whole demeanor changed, and she became more

hostile towards me. She wanted me all the time. . . . Her body language, her facial

expressions when she would talk to me [changed].”).

      Shortly after Ms. Carreno stated that “Blacks are lazy” and that she would “not

hir[e] any” Black nurses, Ms. Harris notified Ms. Freeman and a union representative.

DE #32-5 at 20–22. She also, in February 2016, contacted Jackson Health Services

Attorney Cecilia Gonzalez, informing her about Ms. Carreno’s racist comments and

about being followed by Ms. Carreno. Id. at 22–23. But Ms. Harris alleges that no one

she contacted took any action. Id. at 22; see also DE #32-26 at 2 (noting that Ms.

Freeman eventually “instructed [Ms. Harris] to stop sending emails complaining of

discrimination”); DE #32-5 at 23 (explaining that Ms. Gonzalez had no answer when

Ms. Harris asked why no one was investigating Ms. Carreno).

      Ms. Harris alleges that after this, she was disciplined in response to reporting

Ms. Carreno’s behavior. In January 2016, for example, Ms. Lys issued Ms. Harris a

DAR claiming that Ms. Harris was tardy, and Ms. Freeman then issued Ms. Harris a

written reprimand concerning her alleged tardiness. DE #32 at 6. In June 2016, Ms.

Lys issued Ms. Harris another DAR, stating that she was absent three times. Id. Ms.


                                          5
USCA11 Case: 21-11016        Document: 26     Date Filed: 02/04/2022   Page: 17 of 61



Freeman then suspended Ms. Harris for three days. Id. at 6–7. In August 2016, Ms.

Freeman issued Ms. Harris a DAR citing various reasons, including offensive conduct

towards patients, and Ms. Nieves then issued Ms. Harris a five-day suspension. Id. at

7. In November 2016, Ms. Freeman placed Ms. Harris on administrative leave for

alleged insubordination and inappropriate comments. Id. at 7–8. In total, Ms. Harris

received over a half dozen write-ups and suspensions in 2016, when she had received

no disciplinary actions the year before. Id. at 5–6; DE #32-15 at 37; DE #32-29 at 4.

      Ms. Harris maintains that each of these instances was an example of retaliation

for her prior race discrimination complaints. DE #42 at 4–6; see also DE #32-15 at 24

(Ms. Harris stating in her rebuttal to the August DAR, “I have endured more than I

can possibly take. I have asked to be transferred to [escape this] intentional

malice . . . .”). For example, Ms. Harris claims that Gino Mayorga, a medical assistant

at Jefferson Reeves, told her that Ms. Carreno had called him in 2016 to ask if he had

any information about or pictures of Ms. Harris, saying that she “wanted [Ms. Harris]

out.” DE #32-5 at 31–32. Similarly, whenever Ms. Harris asked her co-workers why

she was being treated unfairly, they told her, “Go talk to Gia [Carreno].” Id. at 32.

Also, in later meetings with Ms. Freeman, Ms. Harris learned that Ms. Carreno had

instructed Ms. Lys to write up Ms. Harris and that Ms. Carreno had told Ms. Freeman




                                          6
USCA11 Case: 21-11016       Document: 26      Date Filed: 02/04/2022   Page: 18 of 61



to have Ms. Harris escorted off the premises when Ms. Harris was suspended. Id. at

21, 27.

      On December 8, 2016, Ms. Harris filed a claim with the EEOC for

discrimination and retaliation. DE #32-26 at 2. The next day, on December 9, 2016,

Ms. Harris and union representatives met with Ms. Nieves about Ms. Harris’s

discipline. DE #32 at 9; DE #32-5 at 24–25. In this meeting, Ms. Harris again reported

Ms. Carreno’s racist behavior and alleged that these disciplinary actions were

retaliatory and motivated by animus, but Ms. Nieves defended Ms. Carreno, saying

that she knew Ms. Carreno well and did not believe her to be “that kind of person.”

DE #32-5 at 25.

      On December 21, 2016, in response to the latest disciplinary action and a

report from Ms. Freeman, Ms. Nieves terminated Ms. Harris’s employment, stating

that she had violated workplace policies and had already surpassed each lesser form of

discipline. DE #32-29; DE #32 at 9; DE #32-2 at 3. Ms. Harris then added wrongful

termination to her EEOC claim, arguing that she “was terminated in retaliation for”

reporting race discrimination perpetrated against her. DE #32-31 at 2. Ms. Harris

unsuccessfully challenged her termination at a grievance hearing with union

representatives in February 2017. DE #32 at 9–10.




                                          7
USCA11 Case: 21-11016        Document: 26      Date Filed: 02/04/2022    Page: 19 of 61



      The EEOC issued Ms. Harris a notice of right to sue on September 27, 2019.

DE #19 at 3; see also DE #32-33 (finding, in a Letter of Determination from the EEOC

issued on April 11, 2019, that Ms. Harris had presented the EEOC with enough

evidence to “establish[] Reasonable Cause to believe that [Public Health Trust]

discriminated against [Ms. Harris] as alleged”). Ms. Harris filed her initial complaint

on December 26, 2019, alleging violations of Title VII of the Civil Rights Act of 1964

and the Florida Civil Rights Act of 1992. DE #1. In February 2021, the district court

granted Public Health Trust’s motion for summary judgment, finding that there was

no genuine issue of material fact. DE #49. Ms. Harris timely appealed to this Court.

                                 Standard of Review

      This Court reviews the district court’s grant of summary judgment de novo. See

Davis v. Legal Servs. Ala., Inc., 19 F.4th 1261, 1265 (11th Cir. 2021) (per curiam)

(explaining that the movant bears the burden to show that “no genuine dispute” of

material fact exists and that “courts must view the evidence in the light most favorable

to the non-movant” in determining whether the movant has satisfied that burden

(citing Alvarez v. Royal Atl. Devs., Inc., 610 F.3d 1253, 1263–64 (11th Cir. 2010))).

                             Summary of the Argument

      Ms. Harris, a Black woman, worked for Public Health Trust from December

2006–December 2016. Throughout her time there, she faced pervasive discrimination


                                           8
USCA11 Case: 21-11016        Document: 26      Date Filed: 02/04/2022   Page: 20 of 61



because of her race. For example, her supervisor told her that “[B]lacks are lazy, and

don’t like to work,” and Ms. Harris had to continue working under that supervisor

for the next fourteen months without the supervisor being disciplined. Meanwhile,

Ms. Harris repeatedly faced disciplinary actions after reporting the supervisor’s

behavior, and the supervisor both revoked Ms. Harris’s access to the supply closet and

asked a co-worker for pictures or information that might get Ms. Harris fired. Together,

Ms. Harris’s evidence of race discrimination at Public Health Trust supported her

claims of disparate treatment, hostile work environment, and retaliation. Nonetheless,

the district court granted summary judgment to Public Health Trust. For the following

reasons, this Court should reverse.

I.    Ms. Harris presented direct evidence of discrimination.

      Summary judgment is not appropriate when the non-movant presents direct

evidence of discrimination. In this case, Ms. Harris presented direct evidence in the

form of her direct supervisor Ms. Carreno’s statement that “[B]lacks are lazy, and don’t

like to work”—a remark that Public Health Trust never disputed. This statement

reflects Ms. Carreno’s discriminatory attitude towards an entire class of workers

without the need for any further context, inference, or presumption.

      This statement, coupled with the multiple adverse employment actions against

Ms. Harris, serves as direct evidence of disparate treatment in Public Health Trust


                                           9
USCA11 Case: 21-11016         Document: 26      Date Filed: 02/04/2022    Page: 21 of 61



facilities. After Ms. Harris told Ms. Carreno that she is Black, a cycle of discriminatory

actions began: Ms. Carreno micromanaged Ms. Harris, impeded her ability to fulfill

her responsibilities, and sought to have Ms. Harris disciplined and removed from her

position. In fact, Ms. Harris reported Ms. Carreno’s behavior to supervisors multiple

times, and after she began reporting she faced over a half dozen disciplinary actions

in a single year, when she had faced none the year before. These negative

consequences correlate to Ms. Carreno’s racist statement, and taken together with the

statement they are sufficient to create a genuine issue of material fact, making

summary judgment inappropriate.

II.   Public Health Trust created a hostile work environment.

      The district court granted Public Health Trust summary judgment on Ms.

Harris’s hostile work environment claim, in part because it excluded evidence of

events that occurred before December 8, 2015, finding that the evidence was time-

barred and that Ms. Harris had not properly cited the material as “background

evidence” for her claim. But she did, in fact, cite to events occurring before December

8, 2015, in her Response in Opposition to Defendant’s Motion for Summary

Judgment, and nothing requires that she use the precise term “background evidence”

when referencing such events. Because these excluded events supported Ms. Harris’s

hostile work environment claim—namely, as early as 2012, she was followed around


                                           10
USCA11 Case: 21-11016         Document: 26      Date Filed: 02/04/2022    Page: 22 of 61



her workplace by a supervisor because she is Black—the district court was wrong to

exclude this evidence from its evaluation. In doing so, the district court failed to apply

the requisite totality of the circumstances approach to hostile work environment

claims.

      To succeed on a hostile work environment claim, a plaintiff need only

demonstrate that the discriminatory conduct was either sufficiently severe or

sufficiently pervasive to create an abusive environment. A reasonable jury could find

that both are true in this case. Specifically, after working at a Public Health Trust

hospital where she alleges that she was followed by a supervisor who racially profiled

Black nurses and treated them differently from other co-workers, Ms. Harris was

transferred to another Public Health Trust facility where her supervisor told her,

“[B]lacks are lazy, and don’t like to work.” When Ms. Harris told her new supervisor

that she was Black, the supervisor began micromanaging her, asking another co-worker

for information that could get her fired, restricting her access to the supply closet,

instructing another co-worker to write her up, and disciplining her because, in the

supervisor’s view, “[B]lacks are lazy.” This discrimination was pervasive and severe, and

it unreasonably interfered with her Ms. Harris’s job performance, making summary

judgment for Public Health Trust improper.




                                           11
USCA11 Case: 21-11016       Document: 26      Date Filed: 02/04/2022     Page: 23 of 61



III.   Ms. Harris made a prima facie case of discriminatory retaliation and
       demonstrated that the nondiscriminatory reasons for discipline cited by
       Public Health Trust were pretext.

       Ms. Harris was punished for reporting the daily discrimination that she faced,

supporting her claim for retaliation. Retaliation has three elements: (1) an employee

engaged in protected activity (2) who suffered an adverse employment action (3) with

a causal connection between the protected activity and adverse action.

       First, Ms. Harris presented ample evidence that she complained of race

discrimination, including evidence of meetings with her superiors and a Public Health

Trust attorney. And she objectively believed that her complaints were a protected

activity because she reasonably understood that she was reporting actionable

discrimination. For example, Ms. Carreno’s racist statements regarding Black nurses—

including that she would not hire any Black nurses—were discriminatory practices that

an employee should be free to report without fear of retaliation.

       Second, it is undisputed that Ms. Harris suffered adverse employment actions,

including write-ups, suspensions, and termination. In particular, in 2016, after she

reported Ms. Carreno, she was written up and suspended over a half dozen times,

when she had not been disciplined at all the year before.

       Finally, Ms. Harris’s disciplinary actions were connected to her race

discrimination complaints because they were in close temporal proximity and driven


                                         12
USCA11 Case: 21-11016       Document: 26      Date Filed: 02/04/2022   Page: 24 of 61



by the person who was the subject of the complaints. Specifically, Ms. Harris reported

Ms. Carreno’s racist statements shortly after Ms. Carreno made them in the fall of

2015, and she continued to notify her superiors about Ms. Carreno’s behavior

throughout 2016. During that year, Ms. Harris faced a sharp increase in workplace

discipline, and she alleges that Ms. Carreno orchestrated the increase. For example,

she testified that whenever she asked her co-workers why she was being singled out for

punishment, they all directed her to talk to Ms. Carreno. Additionally, she testified

that Ms. Carreno instructed another co-worker to write her up and that Ms. Carreno

called another co-worker to ask for pictures or information on Ms. Harris in an effort

to get her fired. In fact, a Black co-worker corroborated Ms. Harris’s claims and

discussed the discriminatory treatment that they both faced, including unfounded

allegations of wrongdoing and increased pressure and stress placed on Black nurses.

With that evidence, Ms. Harris has created a genuine issue of material fact over

whether the adverse employment actions that she suffered were connected to her

protected activity of reporting unlawful discrimination, and not to the pretextual

reasons that Public Health Trust presents.




                                         13
USCA11 Case: 21-11016        Document: 26       Date Filed: 02/04/2022   Page: 25 of 61



                                      Argument

      Ms. Harris is a Black nurse who worked for two Public Health Trust hospitals

for a total of ten years, during which time she faced severe and pervasive race

discrimination. For example, her supervisor at the second hospital, Ms. Carreno, told

her that “[B]lacks are lazy, and don’t like to work” before realizing that she is Black.

Ms. Harris reported the comment, but Ms. Carreno was never disciplined, and Ms.

Harris had to continue working under her for the next fourteen months. Over that

time, Ms. Harris alleges that Ms. Carreno began following her around the workplace,

denying her access to the supply closet, asking a co-worker for pictures or information

to get her fired, and instructing another supervisor to write her up—all of which led to

a sharp increase in her workplace discipline.

      Ms. Harris sued Public Health Trust in 2019, alleging disparate treatment,

hostile work environment, and retaliation, but the district court granted Public Health

Trust’s motion for summary judgment on each of the claims. This Court should

reverse for three reasons. First, Ms. Harris presented direct evidence of discrimination

that is sufficient to create a genuine issue of material fact on her disparate treatment

claim. Second, the district court wrongly excluded evidence that it deemed time-barred,

which, if examined, supports Ms. Harris’s already credible claim for hostile work

environment. And finally, Ms. Harris made a prima facie showing of retaliation with


                                          14
USCA11 Case: 21-11016        Document: 26       Date Filed: 02/04/2022   Page: 26 of 61



evidence that she received multiple disciplinary actions in response to her complaints

of race discrimination, and she successfully rebutted Public Health Trust’s

nondiscriminatory reasons for these actions, revealing that each was just pretext.

I.    Ms. Harris presented direct evidence of discrimination, making summary
      judgment on her disparate treatment claim inappropriate.

      Ms. Harris and Ms. Carreno had an amicable working relationship during the

first six months they worked together. DE #32-5 at 19 (“Initially [Ms. Carreno] was

kind because she was under the impression that I was Hispanic . . . .”). Then, not

realizing that Ms. Harris is Black because she speaks fluent Spanish, Ms. Carreno told

her that “[B]lacks are lazy, and don’t like to work.” Id. at 19–20. When Ms. Harris told

Ms. Carreno her race, Ms. Carreno’s attitude changed, and she began to treat Ms.

Harris with hostility: micromanaging her, limiting her access to needed supplies, com-

plaining about her performance, asking a co-worker for pictures or other information

that could get her fired, instructing a separate co-worker to write her up, and otherwise

harassing and belittling her. Id. at 21, 26, 32; DE #43 at 5; DE #19 at 6–7. A little

over a year later, Ms. Harris had received multiple disciplinary actions, placement on

administrative leave, and, ultimately, a termination notice—all of which she blames on

Ms. Carreno’s racist views. DE #32 at 6–8. The district court nevertheless found that

Ms. Harris had not shown direct evidence of discrimination. DE #49 at 6–7. That

finding was incorrect for two reasons.

                                           15
 USCA11 Case: 21-11016       Document: 26      Date Filed: 02/04/2022   Page: 27 of 61



      First, the district court was wrong to say that Ms. Carreno’s comment was “an

isolated derogatory remark un-coupled from adverse employment actions” and thus

“too attenuated” to constitute an adverse employment action.1 Id. at 7 & n.3. Rather

than constituting a single isolated incident, Ms. Carreno’s statement marked the start

of a cycle of discriminatory actions against Ms. Harris that correlated directly to Ms.

Carreno’s racist statement. In particular, after Ms. Carreno realized her race, Ms.

Carreno denied her access to a medical supply room that she needed to perform her

duties, closely followed her around the clinic, asked a co-worker for pictures or infor-

mation that could get her fired, instructed another supervisor to write her up, and,

generally, “wanted her out.” DE #32-5 at 21, 23, 31; DE #19 at 13; DE #43 at 3–4.

These experiences reflect the actions a supervisor who believed that Ms. Harris’s work

was inferior or “lazy” simply because of her race, and they resulted in Ms. Harris re-

ceiving over a half dozen write-ups and suspensions in 2016, when she had received

no disciplinary actions the year before. DE #32-15 at 37; DE #32 at 5–6. In short,



1
  The district court stated that Ms. Harris did not respond to Public Health Trust’s
argument that Ms. Carreno’s remark “was not repeated and was completely irrelevant
to any of Plaintiff’s DARs, suspensions, or termination.” DE #49 at 6–7. That’s not
correct. Ms. Harris argued that Ms. Carreno’s remark was one of many discriminatory
actions she experienced due to her race. DE #43 at 3–5. Also, Ms. Harris argued that
she received her disciplinary actions because Ms. Carreno learned her race and be-
cause she complained about Ms. Carreno’s racist behavior. Id.; DE #32-5 at 19–21,
28; DE #42 at 4–6.

                                          16
USCA11 Case: 21-11016        Document: 26       Date Filed: 02/04/2022   Page: 28 of 61



because Ms. Harris experienced continual adverse treatment from the moment Ms.

Carreno learned she was Black, and because the discrimination she experienced cor-

relates directly with Ms. Carreno’s racist statements, Ms. Carreno’s statements were

neither isolated nor too attenuated to constitute direct evidence. See Merritt v. Dillard

Paper Co., 120 F.3d 1181, 1189 (11th Cir. 1997) (“[T]his Court has found direct evi-

dence where ‘actions or statements of an employer reflect[] a discriminatory or retali-

atory attitude correlating to the discrimination or retaliation complained of by the

employee.’” (second alteration in original) (quoting Caban-Wheeler v. Elsea, 904 F.2d

1549, 1555 (11th Cir. 1990) abrogated on other grounds by St. Mary’s Honor Ctr. v. Hicks,

509 U.S. 502 (1993))); Miles v. M.N.C. Corp., 750 F.2d 867, 874–76 (11th Cir. 1985)

(holding that the plaintiff presented direct evidence of discrimination where the plain-

tiff was not rehired after a temporary layoff and the plant manager stated he would

not hire Blacks because “[h]alf of them weren’t worth a shit”).

      Second, the district court erred in finding that Ms. Carreno’s remarks were “too

remote in time” from an adverse employment action to constitute direct evidence,

because only four months passed between Ms. Carreno’s racist statements and Ms.

Harris’s first adverse employment action, and because Ms. Harris endured continual

hostile behavior in the time between these events. DE #49 at 7. In Lindsey v. American




                                           17
 USCA11 Case: 21-11016        Document: 26      Date Filed: 02/04/2022   Page: 29 of 61



Cast Iron Pipe Co., for instance, this Court found that the plaintiff’s testimony, if be-

lieved, would constitute direct evidence of discrimination where the alleged discrimi-

natory statement occurred on October 1, 1979, and the plaintiff was passed over for

promotion in the spring of 1981. 772 F.2d 799, 801–02 (11th Cir. 1985). A shorter

amount of time passed between the discriminatory statement and the first adverse

employment action in this case: Ms. Carreno made her racist statements in September

2015 and Ms. Harris was issued a DAR in January 2016. Cf. Ross v. Rhodes Furniture,

Inc., 146 F.3d 1286, 1288, 1291 (11th Cir. 1998) (finding the passing of three years

between a racist remark and the plaintiff’s firing too attenuated to constitute direct

evidence). Ms. Carreno’s remark was thus both close in time and sufficiently tempo-

rally connected by her continued harassment of Ms. Harris to support Ms. Harris’s

disparate treatment claim.2

II.   Public Health Trust created a hostile work environment, as shown in part by
      the background evidence that the district court did not consider.

      Ms. Harris contends that she was subjected to a hostile work environment at

both Public Health Trust facilities—Jackson North and Jefferson Reeves. At Jackson

North, for example, she alleges that she was followed around the workplace, because

of her race, by a supervisor who had previously attacked a subordinate at another


2
 Ms. Harris is not challenging the district court’s finding that Ms. Harris did not
adequately present evidence of a comparator employee.

                                           18
USCA11 Case: 21-11016        Document: 26       Date Filed: 02/04/2022   Page: 30 of 61



hospital. DE #32-5 at 10, 14, 37, 45–46. Then, during her time at Jefferson Reeves,

Ms. Harris’s supervisor told her that “[B]lacks are lazy, and don’t like to work” before

restricting her access to the supply closet, micromanaging her, asking a co-worker for

damaging pictures or information, and instructing another co-worker to write her up,

all of which restricted her from doing her job. DE #19 at 6–7; DE #43 at 4; DE #32-

5 at 20–25, 31, 35.

      Even though this combined evidence demonstrates Public Health Trust’s per-

sistent hostile work environment across its facilities, the district court found that Ms.

Harris could not establish a prima facie case for her hostile work environment claim.

In doing so, though, the court made two errors. First, it incorrectly determined that it

need not consider the pre-December 8, 2015 Jackson North events as background

evidence to Ms. Harris’s hostile work environment claim. DE #49 at 15. That failure

prevented the district court from correctly applying the totality of the circumstances

approach. Mendoza v. Borden, Inc., 195 F.3d 1238, 1246 (11th Cir. 1999) (en banc)

(“The courts should examine the conduct in context, not as isolated acts, and deter-

mine [the severity and pervasiveness of the harassment] under the totality of the cir-

cumstances.”). Second, with or without that background evidence, the district court

wrongly found that Ms. Harris failed to establish a prima facie case for hostile work

environment discrimination. DE #49 at 16.


                                           19
USCA11 Case: 21-11016         Document: 26       Date Filed: 02/04/2022    Page: 31 of 61



   A. Ms. Harris referenced time-barred events as background evidence to support
      her hostile work environment claim, and the district court should have con-
      sidered those facts.
       There are two reasons why the district court was wrong to ignore the pre-De-

cember 8, 2015 Jackson North events: (1) Ms. Harris relied on those events as back-

ground evidence; and (2) Ms. Harris was not required to use the magic words “back-

ground evidence” before the district court could consider the allegations as such.

       As to the first point, the district court found that “Plaintiff does not reference

any incidents that took place prior to December 8, 2015 in her Response.” DE #49 at

15. But that’s not right, because after urging the district court to “consider the totality

of the circumstances,” Ms. Harris’s Response cited to events that occurred at Jackson

North prior to December 8, 2015. Compare DE #43 at 17 (citing “ECF 32-5, at . . .

209:22–212:19 . . . 218:17–231:24”) with DE #32-5 at 210:23–211:3 (testifying that

she had made “complaints regarding race discrimination” at Jackson North). So, de-

spite the district court concluding otherwise, Ms. Harris did “reference . . . incidents

that took place prior to December 8, 2015 in her Response.” DE #49 at 15. And the

district court’s failure to review that background evidence affected Ms. Harris’s ability

to carry her burden because it directly contributed to the severity and pervasiveness of

the harassment she endured.




                                            20
USCA11 Case: 21-11016        Document: 26       Date Filed: 02/04/2022   Page: 32 of 61



      Second, the district court excluded the Jackson North events after stating that

Ms. Harris did not specifically characterize them as “background.” DE #49 at 15

(“Plaintiff does not argue that the discrimination she claims to have faced at Jackson

North prior to December 8, 2015, is background . . . . Accordingly, the Court does

not consider [those] incidents. . . .”). But neither the Supreme Court nor this Court

have ever required a plaintiff to specifically characterize time-barred events as back-

ground evidence before the evidence may be considered. See Nat’l R.R. Passenger Corp.

v. Morgan, 536 U.S. 101, 113 (2002) (explaining that a court may consider all time-

barred events that support a timely claim if it determines that the complaints are a

part of the same actionable hostile work environment practice); Moore v. San Carlos

Park Fire Prot. & Rescue, 808 F. App’x 789, 797 (11th Cir. 2020) (asking whether the

time-barred claims and the timely claims were “sufficiently related so that they may

fairly be considered part of the same hostile work environment claim”) (cleaned up);

see also Menefee v. Montgomery Cnty. Bd. of Educ., 137 F. App’x 232, 233 (11th Cir. 2005)

(“[I]t does not matter, for purposes of the statute, that some of the component acts of

the hostile work environment fall outside the statutory time period.”) (quoting Morgan,




                                           21
USCA11 Case: 21-11016        Document: 26      Date Filed: 02/04/2022   Page: 33 of 61



536 U.S. at 117)). In short, all evidence related to a properly charged act should be

considered; no magic words are necessary.3

    B. Under the totality of the circumstances analysis, a reasonable juror could find
       that Ms. Harris endured severe or pervasive harassment.

        The district court agreed with Public Health Trust “that the instances of dis-

crimination that [Ms. Harris] has set forth are too sporadic to establish a severe and

pervasive level of discrimination.” DE #49 at 15–16 (“[T]here is no genuine dispute

of material fact as to whether any harassment Plaintiff faced was so severe and perva-

sive that a reasonable person would have found that the terms and conditions of her

employment had been altered.”). We respectfully ask this Court to reverse that deci-

sion.

        This Court considers four factors when evaluating the severe or pervasive ele-

ment, asking if it the work environment was objectively hostile based on “(1) the fre-

quency of the conduct; (2) the severity of the conduct; (3) whether the conduct is

physically threatening or humiliating, or a mere offensive utterance; and (4) whether

the conduct unreasonably interferes with the employee’s job performance.” Smelter v.




3To the extent that the district court created this new requirement, it applied it in-
consistently by considering the pre-December 8, 2015 statement “Blacks are lazy”
when that event was not plead as “background” evidence.
                                          22
USCA11 Case: 21-11016         Document: 26       Date Filed: 02/04/2022    Page: 34 of 61



S. Home Care Servs., 904 F.3d 1276, 1285 (11th Cir. 2018) (citations and internal quo-

tations omitted). Of the four, “no single factor is required,” Harris v. Forklift Sys., 510

U.S. 17, 23 (1993), and “[e]ither severity or pervasiveness is sufficient to establish a

violation.” Reeves v. C.H. Robinson Worldwide, Inc., 594 F.3d 798, 808 (11th Cir. 2010).

Here, when considering all four factors, a reasonable juror could find that the harass-

ment Ms. Harris endured was severe or pervasive enough to alter the terms of her

employment. Because of that, summary judgment was inappropriate.

       1. Ms. Harris was harassed daily by her direct supervisor, who believed that
          “Blacks are lazy.”

       Beginning with the frequency factor, Ms. Harris alleges that she was followed

every day for three years—because she is Black—by two supervisors at Jackson North

and Jefferson Reeves. See DE #32-5 at 23 (explaining that she reported being followed

whenever it occurred, which was “a daily occurrence”); id. at 24 (explaining that she

felt harassed because of “what [she] experienced daily”); see also DE #19 at 6–7; DE

#43 at 4, 17. She also alleges that while she was at Jefferson Reeves, she was “denied

access to supplies to perform [her] daily functions as a nurse” just because she is Black.

DE #32-5 at 35.

       Being followed and denied supplies at Jefferson Reeves cannot be extricated

from the racist statement made by Ms. Carreno. Indeed, by following Ms. Harris, Ms.

Carreno was physically manifesting her distrust and dislike of Black people—feelings

                                            23
USCA11 Case: 21-11016        Document: 26       Date Filed: 02/04/2022    Page: 35 of 61



that she stated overtly to Ms. Harris. That being the case, the daily following was suf-

fused with racial animus, and when Ms. Harris saw Ms. Carreno following her—every-

day—she perceived it as racial harassment, as any reasonable juror would. So the fre-

quency factor weighs in favor of finding that Ms. Harris endured severe or pervasive

harassment. Dees v. Johnson Controls World Servs., 168 F.3d 417, 418 (11th Cir. 1999)

(reversing a grant of summary judgment where the plaintiff alleged “almost-daily

abuse”); Johnson v. Booker T. Washington Broad. Serv., Inc., 234 F.3d 501, 509 (11th Cir.

2000) (holding that “roughly fifteen separate instances of harassment over the course

of four months” was pervasive).

      2. A reasonable person could find that a supervisor making a racist statement
         and conspiring to get an employee fired was severe harassment.

      When evaluating the severity element, the district court failed to give adequate

weight to Ms. Carreno’s racist statement, and it ignored entirely Ms. Carreno’s at-

tempt to have Ms. Harris fired. That matters because a reasonable juror would find

those actions severe.

      First, the statement “[B]lacks are lazy” is both racist and severe. See Smelter, 904

F.3d at 1286 (noting that “[c]omments like these are sufficiently severe to create a hos-

tile work environment,” where one of the comments was “black men are ‘lazy’” (em-

phasis added)); see also Allen v. Mich. Dep’t of Corr., 165 F.3d 405, 410–411 (6th Cir.

1999) (stating that a supervisor’s remark that the African-American plaintiff was “lazy

                                           24
USCA11 Case: 21-11016        Document: 26       Date Filed: 02/04/2022   Page: 36 of 61



like the rest of his people” “clearly constitute[s] racial harassment”). In fact, Ms.

Carreno’s statement is just as racist and therefore severe as the conduct in Jones v. UPS

Ground Freight, where the defendant placed banana peels on the Black plaintiff’s truck,

but said nothing about them. 683 F.3d 1283, 1297 (11th Cir. 2012). There, this Court

reversed summary judgment because the behavior “create[d] a genuine issue of triable

fact.” Id. at 1298 (recognizing the severity of referencing the stereotype that likens

Black people to monkeys, even if it was only expressed implicitly). The result should

be no different here, because the racist stereotype that Ms. Carreno expressed was just

as severe, and it was expressed explicitly to Ms. Harris. That is enough to create a

genuine issue of triable fact on the severe or pervasive element. Id.

      Second, the district court never considered the fact that racist remarks can have

a “profound psychological effect” on employees, Rodgers v. Western-Southern Life Ins. Co.,

12 F.3d 668, 673 (7th Cir. 1993), which matters because the severity factor should be

analyzed from “the perspective of a reasonable person in the plaintiff’s position”—

which would be a Black woman. Mendoza, 195 F.3d at 1246. Instead of considering it

from that perspective, the district court downplayed it, labeling it a “derogatory remark”

that was not “repeated in sum or substance.” DE #49 at 16. But that fails to consider

how, even if stated just once, the statement would impact a Black woman like Ms.

Harris, and it fails to identify the statement as what it is: racist, not derogatory. At


                                           25
USCA11 Case: 21-11016        Document: 26       Date Filed: 02/04/2022   Page: 37 of 61



bottom, such a racist statement is severe, in the plain meaning of the word. See Smelter,

904 F.3d at 1286; see also Jones, 683 F.3d at 1298.

      Finally, the district court did not consider Ms. Harris’s allegation that Ms.

Carreno called Ms. Harris’s co-worker in an attempt to gather information that would

justify firing her. See DE #49 (failing to mention this occurrence in any regard). Spe-

cifically, Ms. Harris alleges that Ms. Carreno called a co-worker to ask him if he “ha[d]

any information” or “pictures” on Ms. Harris while also warning him to “be careful”

because Ms. Carreno “wanted [Ms. Harris] out.” DE #32-5 at 31–32. A reasonable

juror would likely agree that a supervisor who sought to turn co-workers against an

employee while scheming to get her fired has created a hostile work environment. See

Vick v. Brennan, 172 F. Supp. 3d 285, 302 (D.D.C. 2016) (noting that allegations of

“nefarious means by which [the defendant] attempted to orchestrate [the plaintiff’s]

termination also help state a claim for hostile work environment”). In sum, there is a

genuine issue of triable fact because a reasonable juror could find this behavior severe

and objectively hostile.

      3. Ms. Harris endured both threatening and humiliating harassment.

      Ms. Harris alleges that she was subjected to a racist statement, followed, mi-

cromanaged, and denied access to the supply closet. She endured this physically threat-

ening and humiliating treatment for over three years.


                                           26
USCA11 Case: 21-11016          Document: 26       Date Filed: 02/04/2022    Page: 38 of 61



        To begin, this Court has acknowledged that racist statements are humiliating—

finding that “[i]t was surely humiliating for [the plaintiff], a [B]lack woman, to hear a co-

worker say that [B]lack people are ‘the scum of the earth.’” Smelter, 904 F.3d at 1286.

Likewise, here, it was humiliating for Ms. Harris to be told “[B]lacks are lazy” to her

face.

        Next, despite the district court opining to the contrary, being followed by co-

workers around the workplace is threatening or humiliating. That is especially the case

because Ms. Harris was not followed by a co-worker of similar rank, but by a superior.

See Burlington Indus., Inc. v. Ellerth, 524 U.S. 742, 763 (1998) (“[A] supervisor’s power

and authority invests his or her harassing conduct with a particular threatening character.”

(emphasis added)). Also, Ms. Harris knew that the supervisor following her at Jackson

North was previously fired for attacking co-workers. DE #32-5 at 12. Likewise, being

followed at Jefferson Reeves was threatening and humiliating because Ms. Harris knew

that the supervisor following her was openly racist. Garret v. Tyco Fire Prods., LP, 301

F. Supp. 3d 1099, 1120 (N.D. Ala. 2018) (recognizing how the seemingly innocuous

action of flipping up the shield of the plaintiff’s helmet could be physically intimidat-

ing when coupled with a racist statement).

        To be sure, this Court has said that a defendant’s “constant following” of a

plaintiff was “neither threatening nor humiliating.” Mendoza, 195 F.3d at 1249


                                             27
USCA11 Case: 21-11016         Document: 26       Date Filed: 02/04/2022    Page: 39 of 61



(cleaned up). But in Mendoza, unlike here, the “following” never occurred “in the of-

fice part of the plant where [the plaintiff] worked.” Id. at 1250 Similarly, this Court

explained in Mendoza that the “following” in that case was not described “in an intim-

idating or threatening fashion.” Id. Here, on the other hand, Ms. Harris specifically

alleged that her employers “physically intimidated” her. DE #32-26 at 2. And that she

“was traumatized.” DE #32-5 at 43. So, taking Ms. Harris’s allegations about being

followed in her workplace in the most favorable light, she has shown that she endured

threatening and humiliating behavior while working for Public Health Trust.

       Finally, Ms. Harris’s supervisors’ “total[] disregard[]” of her complaints was hu-

miliating, if not also threatening. Id. at 44. More specifically, at Jackson North, when

Ms. Harris complained of race discrimination, she said: “They never responded. They

would just look at me.” Id. at 14. Then after complaining about Ms. Carreno, Ms.

Freeman curtly told Ms. Harris to “go back to work,” id. at 22, and Roberto Campos-

Marquetti “just stood” looking at Ms. Harris with a “blank stare.” Id. at 39. Being

voiceless is threatening because if complaints are ignored and the perpetrators have

ostensible immunity, one necessarily fears what they might do next. See id. at 163 (“I

have no voice here . . . I have endured more than I can possibly take. I have asked to

be transferred to be out of intentional malice. . . .”). In sum, the district court did not




                                            28
USCA11 Case: 21-11016        Document: 26      Date Filed: 02/04/2022   Page: 40 of 61



adequately analyze whether Ms. Harris was subjected to threatening or humiliating

harassment and this case should go to the jury.

      4. The harassment unreasonably interfered with Ms. Harris’s job perfor-
         mance and altered the terms and conditions of her employment.

      Public Health Trust’s harassment of Ms. Harris resulted in her termination. But

even before that, the harassment made Ms. Harris’s job more difficult, and that re-

sulted in Ms. Harris effectively working a different job. In other words, the harassment

was so severe and pervasive that it altered the terms and conditions of her employment.

      To begin, the district court itself wrote that “the suspensions, write-ups, and

terminations . . . did alter her employment.” DE #49 at 16 (emphasis added). The only

reason the court found that those adverse employment actions were inconsequential

to the hostile work environment claim was because it found Public Heath Trust’s non-

discriminatory reasons satisfactory. But as explained below in Section III.C, the non-

discriminatory reasons for those actions were pretextual. Thus, the harassment, result-

ing in the termination, did in fact alter the terms of Ms. Harris’s employment. See Bur-

lington Indus., 524 U.S. at 753–54 (“When a plaintiff proves that a tangible employ-

ment action resulted from a . . . supervisor’s [harassment], he or she establishes that

the employment decision itself constitutes a change in the terms and conditions of

employment that is actionable under Title VII.”).



                                          29
USCA11 Case: 21-11016         Document: 26       Date Filed: 02/04/2022    Page: 41 of 61



       Even beyond those tangible employment decisions, though, the harassment

that Ms. Harris endured “adversely altere[d] [her] job responsibilities and otherwise

undermin[ed her] authority.” Bryant v. Jones, 575 F.3d 1281, 1297 (11th Cir. 2009). It

did so, for example, by stripping Ms. Harris of her autonomy and authority as an LPN,

because as an LPN she was supposed to be responsible for “overseeing Medical Assis-

tants.” DE #42-5 at 2; see also DE #32-5 at 60 (testifying that the medical assistant

position is not higher than an LPN position and that medical assistants cannot super-

vise LPNs). Yet, as a part of the harassment, Ms. Harris was forced to report to a Med-

ical Assistant, Jennifer Murray, when she needed supplies. DE #32-5 at 36; see also DE

#32-26 at 2 (alleging that she was “restricted to clerical duties” and “restricted from

performing normal duties such as issuing medicine”). A reasonable jury could find

that these restrictions altered the terms and conditions of Ms. Harris’s employment.

See Bryant, 575 F.3d at 1297 (finding altered employment terms and conditions when

one of the plaintiffs was stripped of her hiring power, prevented from performing

tasks that were “part of her job,” and had “her responsibilities . . . curtailed”).

       Further, Ms. Harris believed that she was being followed by someone who be-

lieves that “[B]lacks are lazy.” That being so, Ms. Harris was confronted daily by a

woman she knew held racist opinions, and that would affect anyone’s ability to work

productively—especially if it required taking time away from work to report that person,


                                            30
USCA11 Case: 21-11016        Document: 26       Date Filed: 02/04/2022    Page: 42 of 61



as it did in Ms. Harris’s case. Thus, a reasonable juror could find that Public Health

Trust’s harassment interfered with Ms. Harris’s performance. Miller Kenworth of

Dothan, Inc., 277 F.3d 1269, 1277 (11th Cir. 2002) (“[H]arassment need not be shown

to be so extreme that it produces tangible effects on job performance in order to be

actionable.”); William v. United Launch All., LLC, 286 F. Supp. 3d 1293, 1306 (N.D.

Ala. 2018) (“Factors that demonstrate that conduct interfered with job performance

include being unable to concentrate on work, shaking because of co-worker conduct,

taking time away from work to complain to superiors and coworkers, and writing notes

to keep a record of conduct.”). As a result, this Court should reverse.

III.   Ms. Harris established a prima facie case for discriminatory retaliation, and
       she showed that Public Health Trust’s nondiscriminatory explanations are
       pretext.
       Ms. Harris alleges that she complained of race discrimination to the staff at

Public Health Trust on numerous occasions. DE #43 at 18. She also alleges that in

retaliation for her complaints, she was written up, suspended, and subsequently ter-

minated. DE #43 at 18.

       In order to establish a prima facie case for retaliation under Title VII, Ms. Har-

ris must demonstrate that: “(1) that she engaged in statutorily protected expression;

(2) that she suffered an adverse employment action; and (3) that there is some causal

relation between the two events.” Meeks v. Computer Assocs. Int'l, 15 F.3d 1013, 1021


                                           31
USCA11 Case: 21-11016        Document: 26       Date Filed: 02/04/2022   Page: 43 of 61



(11th Cir. 1994). As an initial matter, it is not disputed that Ms. Harris suffered ad-

verse employment actions. That said, the district court made a number of findings

regarding the first and third elements as it denied Ms. Harris’s retaliation claim. As to

the protected activity element, for example, the court asserted that Ms. Harris did not

provide evidence that she reported Ms. Carreno’s racist statement and that, even if

she did, she lacked an objectively reasonable belief that what she complained of was

race discrimination. DE #49 at 12. And with regard to the causal connection element,

the court stated that Ms. Harris did not show that Ms. Nieves was aware of the EEOC

complaint before terminating her and that she offered no persuasive evidence that she

was denied access to the supply closet “on account of her race.” DE #49 at 11, 13. We

disagree with each of those findings.

   A. Ms. Harris had an objective belief that she was reporting actionable race dis-
      crimination, so her complaints were protected activities.
      As an initial matter, the district court was wrong to state that Ms. Harris did

not offer “evidence that would indicate she made the complaint, who she complained

to, and what exactly she complained of.” DE #49 at 12. Ms. Harris outlined that she

complained to Ms. Freeman, Ms. Gonzalez, Ms. Nieves, and Mr. Campos-Marquetti.

DE #32-5 at 20, 23, 25, 38–39. Also, in each of those instances, she noted specifically

what she complained about. Id. at 20 (reporting “that Ms. Carreno said, ‘blacks are

lazy, and don’t like to work’”); id. at 23 (“I told her how [Ms. Carreno] inappropriately

                                           32
USCA11 Case: 21-11016        Document: 26      Date Filed: 02/04/2022   Page: 44 of 61



touched me . . . [and about] the comment that she made against blacks.”); id. at 25 (“I

explained to them . . . shortly after [the statement] . . . [Ms. Carreno] became more

hostile towards me.”); id. at 38–39 (“I went over everything.”).

       The district court said that Ms. Harris only cited “portions of her deposition”

as proof that she complained. DE #49 at 12. While that is true for her oral complaints

during the alleged meetings, it is not for the written complaint that she made in re-

sponse to a DAR where she complained of “intentional malice” that was “more than

[she] c[ould] possibly take.” DE #32-21 at 11. Also, it is not a significant or unsup-

ported leap to acknowledge that Ms. Harris met and complained orally of race dis-

crimination. In fact, Public Health Trust does not dispute Ms. Carreno’s racist com-

ment, nor does it dispute the numerous meetings that Ms. Harris alleged. Moreover,

the written EEOC complaint that Ms. Harris filed on December 3, 2016—which raises

the same issues that Ms. Harris says she complained of in the meetings—is record evi-

dence. See DE #32-26 at 2. So, there is ample record evidence that supports Ms. Har-

ris’s allegations that she complained about race discrimination.

      Nevertheless, the district court found that even if Ms. Harris did report Ms.

Carreno’s statement, she lacked an objectively reasonable belief that what she com-

plained of was race discrimination, and thus her reporting was not a protected activity.

We disagree.


                                          33
USCA11 Case: 21-11016          Document: 26       Date Filed: 02/04/2022    Page: 45 of 61



       In evaluating protected activities, this Court considers both a subjective and

objective component. Furcron v. Mail Ctrs. Plus, LLC, 843 F.3d 1295, 1311 (11th Cir.

2016). Here, it is not disputed that Ms. Harris subjectively believed that Public Health

Trust was engaging in discrimination. See DE #49 at 13 (“Plaintiff may have had a

subjective belief that she was being unlawfully discriminated against when she com-

plained to management. . . .”). So the only question is whether Ms. Harris held an

“objectively reasonable” belief that the opposed conduct was “actually unlawful” un-

der “controlling substantive law.” See Furcron, 843 F.3d at 1311 (internal citations and

quotations omitted). To answer that question, Ms. Harris need not prove the conduct

was actually unlawful, but only that it is “close enough to support an objectively rea-

sonable belief that it is.” Clover v. Total Sys. Servs., Inc., 176 F.3d 1346, 1351 (11th Cir.

1999). In other words, she just has to show that her complaints about Ms. Carreno

were “close enough” to unlawful discrimination as to satisfy the objective component.

She has done that here.

       Ms. Harris complained of racism stemming from the statement “[B]lacks are

lazy,” and she also complained that Ms. Carreno said she would not hire Black appli-

cants. DE #32-5 at 19 (“[S]he said . . . she’s not hiring any [Blacks].”). The content of

Ms. Harris’s complaint, therefore, alleged unlawful employment practices. See 42

U.S.C. § 2000e-2(a)(1) (making it an unlawful employment practice to “refuse


                                             34
USCA11 Case: 21-11016         Document: 26       Date Filed: 02/04/2022    Page: 46 of 61



to hire . . . any individual . . . because of such individual’s race”). Because of that, Ms.

Harris’s complaints about those practices were protected activities. See Furcron, 843

F.3d at 1311 (“Title VII’s protections . . . extend to those who voice informal com-

plaints. . . .”).

        The district court erred in holding otherwise, relying almost entirely on a quote

from a case that is distinguishable from the one at hand. DE #49 at 12 (stating that

the objective criterion was not met because “not every uncalled for, ugly, racist state-

ment by a co-worker is an unlawful employment practice” (quoting Butler v. Ala. Dep’t

of Transp., 536 F.3d 1209, 1213 (11th Cir. 2008))). The district court was wrong to

rely on Butler because, taken in its context, it does not support the district court’s

point. In fact, this Court explained exactly why the “uncalled for” and “ugly” state-

ment in Butler was not an objectively unlawful employment practice. It was because

the comment (1) “occurred away from work,” (2) the incident “did not happen within

the hearing of supervisors,” (3) the comment was not “aimed at [the plaintiff],” (4) the

plaintiff “never even suggested that this one-time use of vile language away from work

created a hostile work environment,” and (5) the comment “did not affect her ability

to do her job.” Id. None of these factors are present here: (1) Ms. Carreno made the

statement at work, (2) Ms. Carreno was a supervisor, (3) the statement was spoken to




                                            35
USCA11 Case: 21-11016        Document: 26      Date Filed: 02/04/2022   Page: 47 of 61



Ms. Harris, (4) Ms. Harris alleged and sufficiently showed that the statement contrib-

uted to a hostile work environment, and (5) the statement did affect Ms. Harris’s job

performance as described in the hostile work environment discussion.

      What’s more, if the standard for the objective component is simply that the

content of Ms. Harris’s allegations was “close enough” to unlawful employment prac-

tices, then the EEOC’s evaluation of the facts should suffice. DE #32-33 at 3 (“The

Commission concludes that the evidence obtained in the investigation establishes

Reasonable Cause to believe that Respondent discriminated against the Charging

Party as alleged.”). At bottom, Ms. Harris’s complaints contained allegations that were

objectively unlawful—namely, discriminatory hiring practices and a hostile work envi-

ronment. Because of that, this Court should reverse.

   B. Ms. Harris’s disciplinary actions were causally connected to her various com-
      plaints about her direct supervisor’s discrimination.
      This Court “construe[s] the causal link element broadly.” Chapter 7 Trustee v.

Gate Gourmet, Inc., 683 F.3d 1249, 1260 (11th Cir. 2012). Accordingly, the ultimate

inquiry is simply whether “the protected activity and the adverse action were not

wholly unrelated.” Farley v. Nationwide Mut. Ins. Co., 197 F.3d 1322, 1337 (11th Cir.

1999). To that end, this Court asks (1) whether the “decision-maker became aware of

the protected conduct,” and (2) whether “there was close temporal proximity between

this awareness and the adverse employment action.” Id.

                                          36
USCA11 Case: 21-11016         Document: 26      Date Filed: 02/04/2022    Page: 48 of 61



      With that standard in mind, a reasonable juror viewing the events in this case

would not find that there was absolutely no relation at all between Ms. Harris’s pro-

tected activities and the subsequent adverse employment actions—especially taking

into account the hostile work environment that her supervisors created. Given the

broad construction of this element, that should be enough for this Court to find that

the DARs, three-day suspension, leave of absence, and subsequent termination are

causally connected to at least one of Ms. Harris’s complaints.

      1. January 2016, June 2016, and August 2016 DARs.

      To start, Ms. Carreno directed Ms. Lys to issue Ms. Harris three separate DARs

in January, June, and August 2016, and that made Ms. Carreno a “decisionmaker” for

the purposes of this analysis. See DE #32-5 at 31 (noting that Ms. Lys was “being di-

rected . . . by Ms. Carreno”); see also Anterio v. City of High Springs Fla., 762 F. App’x

891, 899 (11th Cir. 2019) (explaining that “causation may be established, under the

‘cat’s paw’ doctrine, when a decisionmaker followed a biased recommendation from

a non-decisionmaker without independently investigating the complaint”).

      As to awareness of Ms. Harris’s protected activity, it is reasonable to infer that,

shortly after the incident, Ms. Carreno was told by her supervisors that a co-worker

accused her of making a flagrantly racist comment. Otherwise, that would mean Public

Health Trust made no attempt to investigate Ms. Harris’s allegation. See Clover, 176


                                           37
USCA11 Case: 21-11016       Document: 26      Date Filed: 02/04/2022   Page: 49 of 61



F.3d at 1354 (“The defendant’s awareness of the protected statement, however, may

be established by circumstantial evidence.”); see also Jacomb v. BBVA Compass Bank,

791 F. App’x 120, 124 (11th Cir. 2019) (finding that even without direct evidence, it

was “plausible that a relatively high-level manager would know about an EEOC charge

filed by one of the employees he supervises”). Moreover, Ms. Carreno was at least

made aware of Ms. Harris’s complaint by February 2016 when Ms. Gonzalez, the Pub-

lic Health Trust lawyer, told Ms. Harris that she had relayed Ms. Harris’s complaint

to Ms. Carreno. DE #32-5 at 20–23 (Ms. Harris stating that the Public Health Trust

lawyer told her that she “has talked to Gianella” about Ms. Harris’s concerns). So Ms.

Carreno knew about Ms. Harris’s complaints soon after Ms. Harris began making

them, which matters because her knowledge was temporally proximate to the numer-

ous DARs she directed.

      First, as to the January 2016 DAR, only four months separated the DAR from

Ms. Carreno’s presumed knowledge of Ms. Harris initially reporting Ms. Carreno’s

racist comment. And with regard to the June and August DARs, four and six months

respectively separate those adverse employment actions from February 2016, which

was when Ms. Gonzalez told Ms. Harris that she had spoken with Ms. Carreno about

Ms. Harris’s complaint. Four and six months exhibit a stronger temporal proximity

than the timeframe in Gupta where this Court held that complaints in late 1994 and


                                         38
USCA11 Case: 21-11016        Document: 26       Date Filed: 02/04/2022   Page: 50 of 61



early 1995 were temporally proximate to adverse employment actions taken in the

spring of 1996 and in early 1997. Gupta v. Fla Bd. of Regents, 212 F.3d 571, 590 (11th

Cir. 2000) overruled on other grounds by Burlington N. and Santa Fe Ry. Co. v. White, 548

U.S. 53 (2006). In short, this Court has found that over a year can constitute temporal

proximity, and the gaps here were shorter than that.

      To be sure, when a plaintiff alleges temporal proximity alone, this Court has

required “very close” temporal proximity. See e.g., Brown v. Ala. Dep’t of Transp., 597

F.3d 1160, 1182 (11th Cir. 2010) (finding that three months, without more, is insuf-

ficient). But see Gilliam v. U.S. Dep’t of Veterans Affairs, 822 F. App’x 985, 993 (11th

Cir. 2020) (Martin, J., concurring) (explaining that Brown and similar cases “do not

stand for the proposition that a three-month gap can never be ‘close enough’”). But

unlike cases that require “very close” temporal proximity, it cannot be said that Ms.

Harris offered no other “evidence tending to show causation” or that she “offered

nothing at all” to connect her complaints to the adverse employment actions. Brown,

597 F.3d at 1182–83. For instance, Ms. Harris testified that Ms. Carreno was looking

for ways to get rid of her, and that Ms. Carreno’s tactics included the manipulation of

Ms. Harris’s co-workers. See DE #32-5 at 31–32 (describing Ms. Carreno’s voicemail

to Gino Mayorga, where she expressed a desire for damaging information about Ms.

Harris). Also, any time Ms. Harris wanted an explanation for why she was being


                                           39
USCA11 Case: 21-11016        Document: 26       Date Filed: 02/04/2022   Page: 51 of 61



treated differently than others, her co-workers told her to “[g]o talk to Gia [Carreno].”

Id. In sum, this additional evidence, coupled with temporal proximity, is sufficient to

show that the DARs were not wholly unrelated to Ms. Harris’s complaints.

      2. Three-Day Suspension.

      Ms. Harris reported Ms. Carreno’s racist comment to Ms. Freeman in a Sep-

tember 2015 meeting. DE #32-5 at 20 (explaining that she spoke with Freeman

“[s]hortly after” the incident). But she also reported the incident in February of 2016

when she spoke to the Public Health Trust lawyer, Ms. Gonzalez. DE #32-5 at 23.

      Ms. Harris was then suspended for three days on August 9, 2016, and the deci-

sionmakers in that suspension, Ms. Freeman and Ms. Carreno, knew of Ms. Harris’s

prior complaints. As mentioned above, Ms. Carreno knew of the complaint against

her as early as September 2015 and no later than February 2016. And Ms. Freeman

knew in September 2015 because Ms. Harris told her about the incident. This matters

because according to Ms. Harris, the three-day suspension was executed by Ms. Free-

man at “the direction of Gianella Carreno.” DE #32-5 at 26; see Anterio, 762 F. App’x

at 899.

      With the decisionmaker’s knowledge established, the temporal proximity prong

remains. And given that the three-day suspension was in “close temporal proximity”

to both of Ms. Harris’s complaints, the events are not wholly unrelated. In fact, the


                                           40
USCA11 Case: 21-11016        Document: 26      Date Filed: 02/04/2022   Page: 52 of 61



suspension occurred less than a year from the initial complaint and only six months

after the second complaint to Ms. Gonzalez. See Gupta, 212 F.3d at 589–90 (finding

that over a year was temporally proximate).

      And as mentioned above, temporal proximity does not represent the entirety

of the causal connection. Ms. Harris alleged that Ms. Carreno made an outwardly

racist statement while also creating a hostile work environment. See DE #32-5 at 25

(stating that “shortly after [finding out that Ms. Harris was Black and not Hispanic,

Ms. Carreno’s] whole demeanor changed, and she became more hostile towards me. . .

[h]er body language, her facial expressions when she would talk to me”). So, the cases

where this Court has required a “very close” temporal proximity do not apply here

because Ms. Harris alleged more than temporal proximity alone; she presented further

evidence that connected her complaint to her three-day suspension.

      3. Administrative Leave.

      On September 6, 2016, Ms. Harris—in a rebuttal to a DAR issued by Ms. Free-

man and signed by Ms. Carreno—complained of “intentional malice” and that she had

“endured more than [she] c[ould] possibly take” while emphasizing that she “ha[d] no

voice” in her workplace. DE #32-21 at 11. Ms. Freeman placed Ms. Harris on admin-

istrative leave a little over two months after that complaint, citing alleged insubordi-

nation. DE #32-24 at 2; DE #32-2 at 3 (“On November 15, 2016, I [Ms. Freeman]


                                          41
USCA11 Case: 21-11016        Document: 26       Date Filed: 02/04/2022   Page: 53 of 61



placed Harris on administrative leave for disruptive behavior.”). Two months is suffi-

cient temporal proximity. See Gupta, 212 F.3d at 589–90; Gogel v. Kia Motors Mfg. of

Ga., Inc., 967 F.3d 1121, 1154 (11th Cir. 2020) (Wilson, J., concurring in part and

dissenting in part) (asserting that two months “is surely close enough that a fact finder

could infer retaliation”).

      4. Termination.

      The district court found that Ms. Nieves did not know about Ms. Harris’s

EEOC complaint when she terminated her; but even if that was the case, Ms. Nieves

had knowledge of Ms. Harris’s internal complaints to her supervisors. Which is to say,

Ms. Nieves had knowledge of a protected activity regardless of whether Ms. Nieves

knew about the EEOC complaint.

      Ms. Harris met with Ms. Nieves prior to her termination and voiced her com-

plaints of race discrimination in that meeting. DE #32-5 at 25; DE #32-15 at 3 (Ms.

Nieves stating that “I met with Ms. Harris”). In fact, Ms. Harris said that Ms. Nieves

defended Ms. Carreno in that meeting by stating “I know her” and “[s]he’s not that

kind of person.” DE #32-5 at 25. This is contrary to Ms. Nieves’s declaration in which

she claims to not only have had no knowledge of the EEOC charge, but also that she

“was not aware of any complaint of race or national origin discrimination made by

Harris to JMH management.” DE #32-15 at 3. That conflict presented an issue of fact


                                           42
USCA11 Case: 21-11016        Document: 26      Date Filed: 02/04/2022   Page: 54 of 61



that should have prevented summary judgment, because viewing Ms. Harris’s version

in the most favorable light, the knowledge component is met.

      This meeting between Ms. Nieves and Ms. Harris was on December 9, 2016, so

the December 21, 2016 termination occurred less than a month after Ms. Harris’s

complaints during that meeting. DE #32 at 9. Therefore, the causal connection ele-

ment is satisfied because both the knowledge prong and the temporal proximity prong

were met. Farley, 197 F.3d at 1337 (holding that “seven weeks” was “sufficiently prox-

imate to create a causal nexus for the purposes of establishing a prima facie case”).

      At bottom, Ms. Harris established causal connections between numerous ad-

verse employment actions and her protected activities. The decisionmakers had

knowledge of Ms. Harris’s complaints, and when viewed alongside the hostile work

environment she endured, the temporal proximity sufficiently demonstrates that none

of these actions were happenstance, nor were they “wholly unrelated.”

   C. Ms. Harris’s testimony, the timing and frequency of the disciplinary actions,
      and a co-worker’s testimony all demonstrate that Public Health Trust’s non-
      discriminatory explanations are pretext.

      Public Health Trust presented evidence that Ms. Harris was tardy and insubor-

dinate to her superiors to justify its various disciplinary actions, DE #49 at 8–10, and

the district court found that Ms. Harris “fail[ed] to rebut the presumption of non-

discrimination so as to sustain her retaliation charge” in response to the Public Health


                                          43
USCA11 Case: 21-11016        Document: 26       Date Filed: 02/04/2022   Page: 55 of 61



Trust’s nondiscriminatory explanations. Id. at 13. The district court erred because Ms.

Harris “produce[d] sufficient evidence to allow a reasonable finder of fact to conclude

that the . . . articulated reasons were not believable.” Brooks v. Cnty. Comm’n, 446 F.3d

1160, 1163 (11th Cir. 2006) (citing Jackson v. State of Ala. State Tenure Comm’n, 405

F.3d 1276, 1289 (11th Cir. 2005)) (explaining that a plaintiff can show pretext “by

pointing to ‘weaknesses, implausibilities, inconsistencies, incoherencies, or contradic-

tions’ in the proffered explanation”). In particular, Ms. Harris presented three sources

of evidence of pretext that, when combined, make summary judgment inappropriate:

(1) the temporal proximity between Ms. Harris’s protected action and the sharp in-

crease in workplace discipline; (2) Ms. Mells’s testimony; and (3) Ms. Harris’s own

testimony.

      First, the frequency of Ms. Harris’s disciplinary actions, when considered in

conjunction with Ms. Harris’s other sources of evidence, demonstrates that Public

Health Trust’s proffered nondiscriminatory justifications are pretextual. See Jackson v.

Hennessy Auto, 190 F. App’x 765, 768 (11th Cir. 2006) (acknowledging that temporal

proximity can contribute to a finding of pretext). The frequency of disciplinary actions

against Ms. Harris increased drastically after she reported Ms. Carreno’s racist state-

ment. See DE #49 at 2–3; DE #32-15 at 37. Specifically, in 2016, after she reported,




                                           44
USCA11 Case: 21-11016         Document: 26       Date Filed: 02/04/2022   Page: 56 of 61



Ms. Harris received over a half dozen write-ups and suspensions, eventually culminat-

ing in her termination. DE #32-15 at 37. In contrast, in 2015, she received none. Id.

at 37–38; DE #32 at 5–6. This drastic increase in disciplinary actions indicates that

once Ms. Harris voiced her claims of race discrimination, she faced retaliatory action.

When combined with Ms. Mells’s and Ms. Harris’s testimony, the evidence casts at

least enough doubt on Public Health Trust’s reasoning to survive summary judgment.

See, e.g., Hairston v. Gainesville Sun Pub. Co., 9 F.3d 913, 921 (11th Cir. 1993) (finding

an increase in scrutiny and harassment from supervisors and an increase in unfavora-

ble performance evaluations immediately preceding and following the plaintiff’s pro-

tected action supported a finding of pretext).

      Second, Ms. Mells’s testimony provides further evidence that, when combined

with Ms. Harris’s other sources, creates an issue of material fact on pretext. Ms. Mells

stated that Ms. Harris “was constantly subjected to untrue, absurd, and baseless accu-

sations, and then wrongfully disciplined.” DE #42-5 at 3. Thus, Ms. Mells provides

verification from a disinterested non-party that Public Health Trust’s actions were pre-

textual. See Freeman v. Perdue Farms Inc., 496 F. App’x 920, 927 (11th Cir. 2012) (con-

cluding that affidavits of third parties that conflicted the defendant’s version of events

contributed to a finding of pretext); Jones v. City of Heflin, 207 F. Supp. 3d 1255, 1279

(N.D. Ala. 2016) (finding that evidence that circumstantially reflected the supervisor’s


                                           45
USCA11 Case: 21-11016         Document: 26      Date Filed: 02/04/2022    Page: 57 of 61



animus, when combined with evidence of dissimilar pre-opposition and post-opposi-

tion treatment, was sufficient to raise an issue of material fact regarding pretext).

      Third, Ms. Harris’s own testimony supports a finding of pretext when consid-

ered with her other sources of evidence. See Munoz v. Selig Enters., Inc., 981 F.3d 1265,

1279 (11th Cir. 2020) (holding that the plaintiff’s own testimony, which refuted each

of the defendant’s arguments, supported a finding of pretext because “[a] reasonable

jury might well adopt [the plaintiff’s] account of these material facts”); Keene v. Prine,

477 F. App’x 575, 582–83 (11th Cir. 2012) (finding that the plaintiffs’ own testimony

refuting the defendant’s nondiscriminatory reasons, when combined with additional

evidence such as lack of poor performance evaluations prior to the protected action,

were sufficient to refute defendant’s explanations). Ms. Harris testified that she be-

lieved the disciplinary actions she faced were retaliation for reporting Ms. Carreno’s

slur. DE #32-5 at 28; see also DE #42 at 4–6. She also believed she was targeted for

disciplinary actions more than other employees because she was never provided infor-

mation about whether other employees were written up for absenteeism when she

requested it, and she disputes each account of insubordination, providing reasonable

explanations. DE #43 at 2, 9–10; DE #32-5 at 54. Ms. Harris’s testimony thus contra-

dicts Public Health Trust’s nondiscriminatory reasoning.




                                           46
USCA11 Case: 21-11016        Document: 26      Date Filed: 02/04/2022   Page: 58 of 61



      Finally, Ms. Carreno’s slur itself also demonstrates discriminatory animus that

calls into question Public Health Trust’s nondiscriminatory reasons, and even if this

Court does not find that Ms. Carreno’s slur is direct evidence, it can still support a

finding of pretext. See Jones v. Bessemer Carraway Med. Ctr., 151 F.3d 1321, 1323 n.11

(11th Cir. 1998) (“Language not amounting to direct evidence, but showing some

racial animus, may be significant evidence of pretext once a plaintiff has set out the

prima facie case.”). Ultimately, when all of this evidence is taken together—the time-

line of disciplinary actions, Ms. Mells’s testimony, Ms. Harris’s testimony, Ms.

Carreno’s slur—it is sufficient to create an issue of material fact and survive summary

judgment. The district court was wrong to find otherwise.

                                     Conclusion

      The district court granted Public Health Trust’s motion for summary judgment

because it found that no genuine issue of material fact existed. But Ms. Harris’s

evidence of race discrimination, retaliation, and a hostile work environment

contradicts that finding. This Court should reverse.

Date: February 4, 2022




                                          47
USCA11 Case: 21-11016   Document: 26    Date Filed: 02/04/2022    Page: 59 of 61



                                        Respectfully submitted,

                                        /s/ Thomas Burch
                                        Thomas V. Burch
                                        Anna W. Howard
                                        Courtney Hogan, Student Counsel
                                        Kirstiana Perryman, Student Counsel
                                        Appellate Litigation Clinic
                                        University of Georgia School of Law
                                        225 Herty Drive
                                        Athens, Georgia 30602
                                        (706) 542-5236




                                   48
USCA11 Case: 21-11016      Document: 26    Date Filed: 02/04/2022   Page: 60 of 61



                             Certificate of Compliance

  1. This brief complies with the type-volume limitation of Fed. R. App. P.

     32(a)(7)(B) because it contains 11,268 words, excluding the parts of the brief

     carved out by Fed. R. App. P. 32(f) and 11th Cir. R. 32-4.

  2. This brief complies with the typeface requirements of Fed. R. App. P. 32(a)(5)

     and the style requirements of Fed. R. App. P. 32(a)(6) because it has been

     prepared in a proportionally spaced typeface using Microsoft Word in 14-point

     Goudy Old Style font.


                                            /s/ Thomas Burch
                                            Thomas V. Burch
                                            Anna W. Howard
                                            Courtney Hogan, Student Counsel
                                            Kirstiana Perryman, Student Counsel
                                            Appellate Litigation Clinic
                                            University of Georgia School of Law
                                            225 Herty Drive
                                            Athens, Georgia 30602
                                            (706) 542-5236
USCA11 Case: 21-11016         Document: 26    Date Filed: 02/04/2022   Page: 61 of 61



                                 Certificate of Service

      I, Thomas Burch, certify that I served this Appellant’s Opening Brief via the

Court’s ECF system on February 4, 2022, and that I mailed 4 copies to the Clerk of

the Court on the same date.

                                               /s/ Thomas Burch
                                               Thomas V. Burch
                                               Anna W. Howard
                                               Courtney Hogan, Student Counsel
                                               Kirstiana Perryman, Student Counsel
                                               Appellate Litigation Clinic
                                               University of Georgia School of Law
                                               225 Herty Drive
                                               Athens, Georgia 30602
                                               (706) 542-5236
